 8:16-cr-00307-RFR-SMB              Doc # 54   Filed: 02/23/17      Page 1 of 1 - Page ID # 97




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:16CR307

       vs.
                                                                        ORDER
GUSTAVO ALVARADO-GUERRERO,

                       Defendant.


       This matter is before the court on defendant's Motion for Additional Time to File Pretrial
Motions [53]. For good cause shown, I find that the motion should be granted. Pretrial Motions
shall be filed by February 24, 2017.
       IT IS ORDERED:
       1.      Defendant's Motion for Additional Time to File Pretrial Motions [53] is granted.
       2.      Pretrial motions shall be filed on or before February 24, 2017.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between February 16, 2017 and February 24, 2017,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 23rd day of February, 2017.

                                                     BY THE COURT:

                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
